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December 26, 2018
(Via ECF)
Hon. Jeffrey A. Meyer, U.S.D.J.
United States District Court
District of Connecticut
Richard C. Lee United States Court House
141 Church Street
New Haven, CT 06510
Re: Taylor Theunissen, M.D., LLC. v. United Healthcare Group, Inc. et al.,
    Civil Action No.: 3:18-cv-00606

Dear Judge Meyer:
       Defendants UnitedHealth Group, Inc. s/h/a United Healthcare Group, Inc. (“UHG”) and
Cheniere Energy, Inc. (“Cheniere”) respectfully submit this letter pursuant to Your Honor’s Order
dated December 6, 2018 (Doc. No. 45) and in response to Plaintiff’s letter dated December 10, 2018
opposing Defendants’ Supplemental Motion to Dismiss. (Docket Entry No. 41) (the “Supplemental
Motion”).
        I.      Plaintiff’s State Law Causes of Action Are Expressly Preempted By ERISA
       The state law causes of action alleged in Plaintiff’s Amended Complaint (“AC”) for breach of
contract, promissory estoppel, account stated and fraudulent inducement, which are all based on the
preauthorizations1 it received from Defendant United (AC ¶¶33-56) should be dismissed as a matter of
law because the preauthorizations were reduced to writing and state that any benefit payment that will

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 Although its Amended Complaint incorrectly names UHG as the defendant and Plaintiff’s Amended
Complaint should be dismissed on this ground alone (See Defendant UHG’s Memorandum of Law in
Support of its Motion to Dismiss Plaintiff’s Amended Complaint (“UHG MOL”) (Doc. No. 19) at p. 2,
Fn 2, UnitedHealthcare Insurance Company (“United”) is the entity that administered all claims for
benefits under the Plan. (See Declaration of Wayne Williams (“Williams Dec.”) dated August 31, 2018 at
Ex. 1. p. 58, Ex. “2” p. 1 (Doc. Nos. 25-2 p. 58; 25-3 p.1)). Therefore, Defendants will refer to this
entity as the one that administered the claims for benefits at issue throughout this letter.
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be made in connection with the treatment in issue will be subject to the terms of the Patient’s health
benefit plan (i.e. the Cheniere Energy, Inc. Welfare Benefit Plan (the “Plan”)). The Plan is an employee
welfare benefit plan that is governed by Employee Retirement Income Security Act of 1974, 29 U.S.C.
§ 1001, et seq. (as amended) (“ERISA”). True and correct copies of United’s preauthorization letters
were attached to the Defendants’ letter to the Court dated December 12, 2018. (See Doc. Nos. 48 and
48-1). Plaintiff admits that United’s purported independent agreement (i.e. the preauthorization)
regarding the surgical services provided on August 22, 2016 was communicated to the Patient and the
Plaintiff in writing. (AC ¶17). That letter dated July 12, 2016, does not support the Plaintiff’s allegations.
(See Doc. No. 48-1 pp. 1-2). Indeed, United’s July 12, 2016 letter explicitly informed the Patient and the
Plaintiff that its preapproval “does not guarantee payment” for the services rendered and any payment is
subject to the terms of the Patient’s Plan, United’s reimbursement policies, correct coding, copayments,
co-insurance and deductibles. (See id.)(emphasis added). This exact language was reiterated in United’s
preauthorization letter dated November 30, 2016 regarding the surgical services provided to the Patient
on November 30, 2016. (See Doc. No. 48-1 pp. 3-4). Therefore, the only way to determine whether
Plaintiff’s claims were administered properly is to review the terms of the governing ERISA Plan,
which actually requires the Patient to obtain preauthorization to avoid a penalty.2 Accordingly, all of
Plaintiff’s state law claims are expressly preempted pursuant to ERISA §514(a); 29 U.S.C. §1144(a). See
Montefiore Med. Ctr. v. Teamsters Local 272, 642 F.3d 321, 332 (2d Cir. 2011)(holding that a plan’s
preauthorization process does not create an independent legal duty because it is expressly required by
the terms of the Plan itself and therefore, “is inextricably intertwined with the interpretation of plan
coverage and benefits.”); Pirro v. Nat’l Grid, 590 F. App’x 19, 22 (2d Cir. 2014); Thompson v. Deutsche
Bank Tr. Corp., 2014 U.S. Dist. LEXIS 19386, at *13 (S.D.N.Y. Feb. 14, 2014); Glastein v. Horizon Blue
Cross Blue Shield of Am., No. 17-cv-7983 (PGS)(TJB), 2018 U.S. Dist. LEXIS 135911, at *7-8 (D.N.J.
Aug. 13, 2018); Atl. Shore Surgical Assocs. v. Horizon Blue Cross Blue Shield, Civil Action No. 17-cv-07534
(FLW) (DEA), 2018 U.S. Dist. LEXIS 90734, at *19 (D.N.J. May 31, 2018); Advanced Orthopedics &
Sports Med. Inst. v. Empire Blue Cross Blue Shield, Civil Action No. 17-cv-08697 (FLW) (LHG), 2018 U.S.
Dist. LEXIS 96814, at *13 (D.N.J. June 7, 2018). In Glastein, supra., the court dismissed plaintiff’s
complaint (filed by the same Plaintiff’s attorney in this case) that included allegations and causes of
action similar, if not identical, to the Plaintiff’s Amended Complaint in this case. Specifically, the Court
held that because the written authorization at issue states that “‘it is not a guarantee of payment [and] is
subject to the terms’ of the benefit plan,” all of plaintiff’s state law causes of action “obviously . . . relate
to an employee benefit plan, and as such, each cause of action is expressly preempted by ERISA.” Id. p.
7-8. The facts in this case are identical to those in Glastein. Here, Plaintiff admits that United authorized
the services at issue by “written authorization” and pursuant to its terms, that authorization “does not
guarantee payment” and states that “payment is based on . . . your plan benefit language.” (Doc. No.
48-1 pp. 1, 3). Therefore, like in Glastein, all of Plaintiff’s state law causes of action are expressly
preempted by ERISA pursuant to ERISA §514(a); 29 U.S.C. §1144(a).
         While Plaintiff agrees that the information in the preauthorization letters is accurate, it argues
that “the court must note that these authorizations are reproductions of documents without any
certifications attesting to who sent them, or when they are sent.” (See Plaintiff’s Letter in Opposition to
Defendants’ Supplemental Motion dated December 10, 2018 (“Pl. Opp.”) p. 1, fn 1). To the extent

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See Williams Dec. at Exhibit “2” p. 20. (Doc. No. 25-3).
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Plaintiff is arguing that it did not receive the July 20, 2016 preauthorization letter prior to performing
the services at issue, that argument is belied by its own allegation that it received “written
preauthorization” from United prior to performing surgical services on the Patient on August 22, 2016.
(AC ¶17). The Second Circuit has repeatedly made clear that allegations in a complaint are judicial
admissions that bind a party “throughout the course of the proceeding.” See Ariel (UK) Ltd. v. Reuters
Grp., PLC, 277 F. App’x 43, 45 (2d Cir. 2008); Official Comm. of Unsecured Creditors of Color Tile, Inc. v.
Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2d Cir. 2003). To the extent Plaintiff argues that it did not
receive the November 30, 2016 preauthorization letter before performing the services at issue, that
argument does not diminish the probative value of the letter for several reasons. First, there is no
dispute that the letter was drafted and sent out on November 30, 2016 and thus, accurately reflects
United’s position at the time of the preauthorization call (i.e. that the terms of the ERISA Plan govern
whether the Patient’s claim will be paid and the amount payable). At the very least, the preauthorization
letter demonstrates that the parties did not have a meeting of the minds sufficient to form a contract nor
was there a clear and definite promise, which is fatal to its state law claims in this matter. L & R Realty
v. Connecticut National Bank, 53 Conn. App. 524, 534, Case 3:18-cv-00606-JAM Document 19 Filed
08/08/18 Page 10 of 25 -11- 35, cert. denied, 250 Conn. 901, 734 A.2d 984 (1999) (“To form a valid and
binding contract in Connecticut, there must be a mutual understanding of the terms that are definite
and certain between the parties. . . . If the minds of the parties have not truly met, no enforceable
contract exists. . . .); see also McKinstry v. Sheridan Woods Health Care Center, Inc., 994 F.Sup.2d 259, 266
(D.Conn. 2014) (to state a claim for promissory estoppel, a plaintiff must allege facts to show the
existence of a clear and definite promise which a promisor could have reasonably expected to induce
reliance.”). Second, Plaintiff’s purported reliance on United’s preauthorization as a promise to pay its
full billed charges was unreasonable as a matter of law because there is no dispute that Plaintiff received
United’s July 30, 2016 preauthorization letter for the same Patient in which United clearly stated that
the preauthorization does not guarantee payment and that payment is based on the terms of the
governing ERISA Plan and United’s payment policies. Therefore, Plaintiff’s claim that it relied on
United’s general preauthorization as a guarantee of payment at its billed charges was unreasonable and
insufficient to support a claim for promissory estoppel. See Goetz v. Sherman, Nos. CV156053034S,
CV156049996S, 2017 Conn. Super. LEXIS 4835, at *11 (Super. Ct. Nov. 8, 2017)(Promissory estoppel
requires reasonable reliance by the party to whom a statement is made).
         Plaintiff’s argument that United waived its right to argue that Plaintiff’s claims are preempted by
ERISA is entirely without merit. Plaintiff argues that, by sending a form letter to Plaintiff dated May 19,
2017 informing Plaintiff that it can appeal United’s initial claim determination on behalf of the member
and that it “may have more rights under state law,” United admitted that Plaintiff “has valid state law
claims against Defendant.” (See Pl. Opp. p. 2 and at Ex. “A”). This argument fails for several reasons.
First, Plaintiff does not reference the May 19, 2017 letter in its Amended Complaint nor does the
Amended Complaint include allegations regarding the letter. It is well settled that in opposition to a
motion to dismiss, Plaintiff cannot include documents not referenced in the Amended Complaint nor
can it amend the Amended Complaint through arguments in opposition. See Longo v. Ortiz, 15-CV-7716,
2016 U.S. Dist. LEXIS 131558, 2016 WL 5376212, at *4 (S.D.N.Y. Sept. 26, 2016). Second, the
statement regarding the possibility of rights under state law does not constitute an admission that
Plaintiff has such rights or that it waived its right to argue that any claim is preempted by ERISA.

        Plaintiff’s discussion of Paneccasio v. Unisource Worldwide, Inc., 532 F.3d 101, 114 (2d Cir. 2008) is
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also completely wrong and in no way limits this ruling’s precedential effect in this case. Plaintiff
attempts to distinguish Paneccasio on irrelevant and immaterial points, but ignores its holding. (Pl. Opp.
pp. 3-5). Specifically, Plaintiff argues that its state law claims in this case differ from those in Paneccasio
because they are purportedly distinct from ERISA and do not specifically discuss its Patient’s ERISA
Plan. As discussed above, this is simply not true and contradicted by the clear terms of the
preauthorization letters referenced in the Amended Complaint. (See Doc. No. 48 and 48-1). Plaintiff
admittedly received these letters, which state that the preauthorization does not guarantee payment and
that any payment is subject to the terms of the ERISA Plan and United’s payment policies. Indeed, the
ERISA Plan at issue explicitly requires preauthorization to avoid a penalty. (See Williams Dec. at Ex.
“2” p. 20). Therefore, as in Paneccasio, Plaintiff’s claims “relate to” the administration of an ERISA Plan
and thus, are expressly preempted by ERISA. Plaintiff’s argument that by not specifically referencing an
ERISA Plan in its Amended Complaint it successfully avoids ERISA preemption is unsupported in the
law. This is especially so here where, as discussed above, the claims undeniably relate to United’s
administration of an ERISA Plan.
       Therefore, Plaintiff’s state law causes of action are preempted by ERISA and should be
dismissed as a matter of law.
        II.     Plaintiff’s ERISA Counts Are Barred by the Plan’s Anti-Assignment Provision
         Plaintiff challenges the clear and unambiguous anti-assignment clause in the Master Plan
Document (see Doc. No. 25-2 p. 42) by arguing that United waived this provision in its May 19, 2017
letter by informing Plaintiff that it “could appeal on the member’s behalf with their signed
authorization.” (See Pl. Opp. p. 2). Plaintiff’s argument is wrong on the facts and law for several
reasons. First, as discussed above, Plaintiff cannot rely on documents that were not referenced or
allegations not asserted in the Amended Complaint. Second, the May 19, 2017 letter permitting Plaintiff
to file an appeal on behalf of the Patient does not constitute a waiver of the Plan’s anti-assignment
provision. “Waiver arises when a party has voluntarily or intentionally relinquished a known right.”
Neurological Surgery, P.C. v. Travelers Co., 243 F. Supp. 3d 318, 330 (E.D.N.Y. 2017). However, “[m]ere
silence regarding the anti-assignment provisions does not constitute a waiver of those
provisions.” Neurological Surgery, P.C., 243 F. Supp. 3d at 330; see also Beth Israel Med. Ctr. v. Horizon Blue
Cross and Blue Shield of New Jersey, Inc., 448 F.3d 573, 585 (2d Cir. 2006). Here, the May 19, 2017 letter
does not reference the Plan’s anti-assignment provision and most certainly does not relinquish the
Defendants’ right to rely on the anti-assignment provision. Furthermore, the letter does not state that
the Plaintiff’s Patient can assign his/her rights to benefits under the Plan. Rather, it permits the Plaintiff
to file an administrative appeal on the Patient’s behalf (with a signed authorization) as an authorized
representative. Despite Plaintiff’s unsupported argument to the contrary, courts have consistently
found that this sort of authorization does “not negate the anti-assignment provision or otherwise entitle
Plaintiff to sue for recovery of benefits in federal court pursuant to ERISA.” Aerocare Med. Transp. Sys. v.
IBEW Local 1249 Ins. Fund, No. 5:18-CV-0090 (GTS/ATB), 2018 U.S. Dist. LEXIS 212596, at *24
(N.D.N.Y. Dec. 18, 2018); see also MBody Minimally Invasive Surgery v. Empire Healthchoice HMO, Inc., 13-
CV-6551, 2016 U.S. Dist. LEXIS 66149, 2016 WL 2939164, at *6 (S.D.N.Y. May 19, 2016).
III.    Plaintiff’s Claims for Benefits Under ERISA §502(a)(1)(B) Should Be Dismissed under the Plan’s
        Limitation of Actions Provision
        In response to Defendants’ argument that Plaintiff’s claim for benefits under ERISA
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§502(a)(1)(B) is barred by the Plan’s limitation of actions provision (See United’s MOL at pp. 4-5),
Plaintiff argues that United’s May 19, 2017 letter constitutes United’s final adverse determination for
both claims for services rendered and its time to start an action commenced on that date. (Pl. Opp. p.
2). This argument is without merit for several reasons. First, and as stated above, the May 19, 2017
letter was not referenced in, or attached to, the Amended Complaint and thus, cannot be reviewed by
this Court in deciding Defendants’ Motions to Dismiss. Second, this letter was not issued in response
to an administrative appeal but rather, appears to be in response to a general inquiry regarding the
status of United’s determination on Plaintiff’s claim for services rendered to its Patient on November
30, 2016. In the letter, United merely states that its initial determination was accurate and thus, the letter
does not constitute a determination in and of itself. In fact, the letter advises the Plaintiff that if it
wanted to challenge the initial determination, it could submit an administrative appeal, but Plaintiff did
not do so and does not allege that it filed an appeal. Second, the May 19, 2017 letter only references
claims for services rendered on November 30, 2016. (See Pl. Opp. at Ex. “A”). Therefore, even if this
letter constituted a final determination on Plaintiff’s claim for benefits, it only concerns the claim for
treatment related to services rendered on November 30, 2016, not the claim for services rendered on
August 22, 2016. (Id.). Therefore, Plaintiff provides no opposition to Defendants’ argument that its
claim for benefits under ERISA §502(a)(1)(B) related to services rendered on August 22, 2016 is barred
by the Plan’s limitations of actions provision.

         Plaintiff also argues that its Sixth and Seventh Counts for breach of fiduciary duty and co-
fiduciary duty are not barred by the Plan’s limitation of actions provision. This argument is a complete
non-sequitur as the Defendants did not argue that Plaintiff’s Sixth, Seventh and Eighth Counts were
barred on this ground. Instead, Defendants argued that (among other things) Plaintiff does not have a
right of action under ERISA to bring these counts because the limited assignment of benefits obtained
from the Patient does not assign the Patient’s right to assert these claims. See Rojas v. Cigna Health and
Life Ins. Co., 793 F.3d 253 (2d Cir. 2015); see also UHG MOL pp. 19-23 and Defendant Cheniere’s
Memorandum of Law in Support of its Motion to Dismiss (Doc. No. 25).

        IV.     Defendant Cheniere is Not a Proper Party to this Action
         Despite the fact that the healthcare benefits under the Plan are fully-insured and administered
by United, and that all the communications Plaintiff alleged took place were between United and
Plaintiff’s office staff, Plaintiff still, without any support, continues to pursue this action against
Defendant Cheniere based solely on Plaintiff’s counsel’s conclusory statement that Cheniere “is not
without fault in this matter.” Plaintiff’s arguments are not well taken and are not supported by the
limited factual allegations of the Amended Complaint. Despite Plaintiff’s purported “confusion,” and as
set forth in the Defendants’ previous filings, the Plan at issue was funded and administered by United
and Cheniere was not involved (at all) in claim administration or payment. (See Certificate of Coverage
filed as Ex. 2 to the Williams’ Dec. (Doc. No. 25-3).

        Based on the foregoing and upon all the arguments advanced in the Defendants’ previously
filed motions and supplemental motion to dismiss, Defendants respectfully request that this Court
dismiss Plaintiff’s Amended Complaint in its entirety and with prejudice.


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Respectfully submitted,




Michael H. Bernstein




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